      Case 23-56586-bem           Doc 16 Filed 08/07/23 Entered 08/07/23 10:56:47                       Desc Order
                                     Dismissal - Filing Defic Page 1 of 1
                                UNITED STATES BANKRUPTCY COURT
                                     Northern District of Georgia
                                          Atlanta Division


In     Debtor(s)
Re:    N'neka Jeva Magee                                                Case No.: 23−56586−bem
                                                                        Chapter: 7



                    Order Dismissing Case For Failure Of Debtor
                           To Correct Filing Deficiency

The above referenced case was filed on July 13, 2023. An Order was entered by the Court on July 13, 2023
directing the debtor to correct one or more filing deficiencies, and the debtor has failed to comply with the
Order, and/or any subsequent order extending the time to cure filing deficiencies. Accordingly, it is hereby

ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court by
August 21, 2023.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), any
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this
Order upon any employer of the Debtor(s) who is subject to an Employer Deduction Order.



   SO ORDERED, on August 7, 2023.




                                                                        Barbara Ellis−Monro
Clerk, United States Bankruptcy Court                                   United States Bankruptcy Judge
Atlanta Division
1340 United States Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303


Dated: 8/7/23
Form 522
